UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ORACLE CORPORATION,            Civil Action No. 1:18-CV-03440-GHW

                                ORAL ARGUMENT REQUESTED
                Plaintiff,

 v.

 CHARTIS SPECIALTY INSURANCE
 COMPANY,


                Defendant.




    DEFENDANT AIG SPECIALTY INSURANCE COMPANY’S (F/K/A CHARTIS
 SPECIALTY INSURANCE COMPANY) MEMORANDUM OF LAW IN OPPOSITION
   TO PLAINTIFF’S MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS



                                    BRESSLER, AMERY & ROSS, P.C.
                                    17 State Street
                                    New York, New York 10004
                                    T: (212) 425-9300
                                    F: (212) 425-9337

                                    Attorneys for Defendant
                                    AIG Specialty Insurance Company (f/k/a
                                    Chartis Specialty Insurance Company)



On the Brief:

Robert Novack, Esq.
Charles W. Stotter, Esq.
Christina D. Gallo, Esq.
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        Defendant AIG Specialty Insurance Company (“AIGSIC”) submits this memorandum of

law in opposition to Plaintiff Oracle Corporation’s motion for partial judgment on the pleadings.

                                     PRELIMINARY STATEMENT

        Oracle’s motion seeks partial judgment that seven claims against Oracle in the underlying

State Action, alleging violations of the Oregon False Claims Act (the “OFCA Claims”), are

covered under the AIGSIC excess professional and technology services errors and omissions

liability policy (“Excess Policy”), which follows form to an underlying primary policy issued by

Beazley (“Primary Policy”). Oracle is wrong. The OFCA Claims do not fall within any of the

Primary Policy’s Insuring Clauses and are otherwise excluded from coverage.

        First, the Primary Policy’s Insuring Clauses I.A and I.B only provide coverage for

negligent and unintentional conduct. Insuring Clause I.A provides coverage for “any negligent

act, error or omission, misstatement or misleading statement or any unintentional breach of

contract, in rendering or failure to render Professional Services or Technology Based Services . .

. .” (emphasis added). Similarly, Insuring Clause I.B provides coverage for “any negligent act,

error or omission, or unintentional breach of contract . . . that results in the failure of Technology

Products to perform the function or serve the purpose intended.” Neither Insuring Clause covers

the OFCA Claims, which are not rooted in negligence.1




1
  Oracle’s motion mistakenly addresses Insuring Clause I.A, which is not the applicable Insuring Clause. The
allegations in the State Action Complaint arise out of Oracle’s creation and development of technology software
“products” that failed to perform as promised, to which Insuring Clause I.B applies. The allegations do not arise out
of any “Professional Service” or “Technology Based Service” which would otherwise be addressed by Insuring
Clause I.A. Nor do Insuring Clauses I.C or I.D apply (neither of which are at issue in this matter). The Beazley and
AIGSIC coverage letters analyzed Oracle’s claims under Insuring Clause I.B (Declaration of Deborah Hirschorn,
dated August 9, 2018 (“Hirschorn Decl.”), Exh. 1 (June 16, 2015 Letter); Declaration of Robin L. Cohen in Support
of Plaintiff’s Motion for Partial Judgment on the Pleadings, dated July 20, 2018 [Dkt. #47] (“Cohen Decl.”), Exh. B
(July 19, 2017 letter) [Dkt. #47-2]), with no reference to Insuring Clause I.A. Notably, Oracle did not object, or
provide any pushback to the insurers’ sole application of Insuring Clause I.B. For the first time in its Complaint,
         Oracle mistakenly argues that the term “negligent” in Insuring Clause I.A only modifies

the terms “act, error or omission” and does not modify the terms “misstatement or misleading

statement,” thereby expanding coverage to include not only negligent conduct, but intentional

conduct as well. But California courts have uniformly held that the initial modifier “negligent”

is applicable to all nouns or phrases that follow.

         Second, the OFCA Claims do not fall within the Primary Policy’s Insuring Clause I.A

(nor do they fall within Insuring Clause I.B) because they do not allege negligent or

unintentional conduct. Negligent conduct is not proscribed by the OFCA statute and was not

alleged in the State Action Complaint. The State Action Complaint does not allege that Oracle

acted negligently, but rather that Oracle made statements, demonstrations, or representations

“with actual knowledge that they were false, with deliberate ignorance of their falsity, or with

reckless disregard of their falsity.”

         Third, the Primary Policy does not contain a duty to defend. AIGSIC had no duty to

advance defense costs for “potentially covered” claims that alleged wrongful conduct where the

policy expressly (i) requires the insurer’s consent to legal fees incurred, and (ii) specifically

provides for the allocation of covered and uncovered losses between the insured and insurer.

Under California law, an insurer is only obligated to advance defense costs for claims that are

actually covered prior to the final disposition of the claim. Moreover, the terms of the Primary

Policy only provide a duty to advance defense costs prior to final disposition of the underlying

claim.     Oracle never requested reimbursement of Claims Expenses until after the final



Oracle advanced Insuring Clause I.A (in addition to Insuring Clause I.B), but only relies on the language of Insuring
Clause I.A (for its addition of the terms “misstatement” and “misleading statement”) in this motion. Nevertheless,
the analysis is the same as neither Insuring Clause is triggered by the OFCA Claims.




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disposition of the State Action. Accordingly, AIGSIC was not obligated to advance defense

costs for uncovered claims.

       Fourth, even if Oracle’s alleged conduct somehow triggered any of the Primary Policy’s

Insuring Clauses, several exclusions contained in the Primary Policy and raised in this action as

affirmative defenses preclude coverage.      Oracle has not sought to strike those affirmative

defenses nor sought any other relief with respect to those exclusions.

       Accordingly, Oracle’s motion for partial judgment on the pleadings as to the OFCA

Claims must be denied.

                                   STATEMENT OF FACTS

   A. THE POLICIES

       Certain Underwriters at Lloyd’s, Syndicates 623 and 2623, subscribing to Policy No.

QF009013 (“Beazley”) issued to Oracle a Professional and Technology Based Services,

Technology Products, Computer Network Security, Privacy Liability and Multimedia and

Advertising Liability Insurance Policy for the policy period of March 31, 2013 to March 31,

2014 (the Primary Policy). Compl. [Dkt. #1] ¶ 15; see also Compl., Exh. A. Chartis Specialty

Insurance Company (“Chartis”, n/k/a AIGSIC) issued to Oracle the Excess Policy, No. 01-842-

68-53, for the policy period of March 31, 2013 to March 31, 2014, which follows form to, and

incorporates the Primary Policy’s terms, conditions, definitions, limitations, and exclusions.

Compl. ¶¶ 15, 17, 18; see also Compl., Exh. B. The Excess Policy provides the first layer of

excess coverage to Oracle, in excess of the Primary Policy limits of liability and a self-insured

retention. Compl. ¶ 17; see also Compl., Exh. B.

       The Primary Policy provides claims made and reported coverage to Oracle for “Claims

first made against the Insured and reported to the Underwriters during the Policy Period.”




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Compl., Exh. A. The Primary Policy’s Insuring Clause I.A specifically provides coverage for

Damages and Claims Expenses, “in excess of the Each Claim Deductible”:

       which the Insured shall become legally obligated to pay because of any Claim
       first made against any Insured and reported in writing to the Underwriters during
       the Policy Period . . . arising out of any negligent act, error or omission,
       misstatement or misleading statement or any unintentional breach of contract, in
       rendering or failure to render Professional Services or Technology Based
       Services . . . by the Insured. . .

Id., § I.A (emphasis added). The Primary Policy defines “Professional Services” as follows:

       “Professional Services” means professional services performed for others by or on
       behalf of the Insured Organization for a fee . . . but does not include Technology
       Based Services, Media Activities, any services involving the creation,
       development, sale, distribution, installation, licensing, or manufacturing of
       Technology Products. . .

Id., § VI.U (emphasis added). The Primary Policy defines “Technology Based Services” as

follows:

       “Technology Based Services” means computer and electronic technology
       services, including data processing, Internet services, cloud services, data and
       application hosting, computer systems analysis, security strategy and services,
       technology consulting and training, custom software programming for a specific
       client of the Insured Organization, computer and software systems installation and
       integration, computer and software support, and network management services
       performed by the Insured. . . for others for a fee . . . , but shall not mean
       Technology Products.

Id., § VI.Z (emphasis added).

       In addition, the Primary Policy’s Insuring Clause I.B provides coverage for Damages and

Claims Expenses, in excess of the Deductible:

       which the Insured shall become legally obligated to pay because of any Claim
       first made against any Insured and reported to the Underwriters during the Policy
       Period . . . arising out of:

              1.    any negligent act, error or omission, or any unintentional breach of
                   contract, by the Insured . . . that results in the failure of Technology
                   Products to perform the function or serve the purpose intended; or




                                             4
               2. infringement of copyright committed by the Insured . . . with respect
                  to software Technology Products.

Id., § I.B (emphasis added). The Primary Policy defines “Technology Products” as follows:

       “Technology Products” means a computer or telecommunications hardware or
       software product, or related electronic product that is created, manufactured or
       developed by the Insured Organization for others, or distributed, licensed, leased
       or sold by the Insured Organization to others for compensation . . . including
       software updates, service packs and other maintenance releases and training
       provided for such products.

Id., § VI.AA. The Primary Policy further provides several exclusions from coverage, including

that coverage does not apply to Damages or Claims Expenses in connection with or resulting

from any Claim:

   A. With respect to Insuring Clauses A., B. and D., arising out of or resulting from
      any criminal (except where such criminal act is based on unintentional conduct)
      dishonest, fraudulent or malicious act, error or omission committed by any
      Insured; however, this Policy shall apply to Claims Expenses incurred in
      defending any such Claim alleging the foregoing until such time as there is a final
      adjudication, judgment, binding arbitration decision or conviction against the
      Insured, or written admission by the Insured, establishing such conduct . . .

Id., § V.A. The Primary Policy also contains exclusions precluding coverage for, inter alia,

Damages or Claims Expenses arising out of a contractual liability or obligation (Exclusion E), a

breach of warranty (Exclusion F), inaccurate description of price of goods, cost representations or

estimates, or failure to conform to represented quality or performance (Exclusion G), false,

deceptive or unfair trade practices, or false or deceptive or misleading advertising (Exclusion K),

and alleged violation of RICO or any similar federal or state law (Exclusion N). Id., § V.

   B. THE UNDERLYING LAWSUITS

       In early 2009, the State of Oregon allegedly began investigating software options for a

project by which it would modernize its delivery of certain social services programs. Compl. ¶

28. Thereafter, the State of Oregon allegedly hired Oracle to assist in implementing the software




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solutions for both the Modernization and Cover Oregon Projects. Compl. ¶ 29.2 Allegedly the

two projects encountered political and technical problems giving rise to a dispute between Oracle

and the State of Oregon, although “the Oracle system was ready for public release.” Compl. ¶

30. By the end of February 2014, the State of Oregon allegedly chose not to launch the public

website and announced its decision to “abandon the Oracle system.” Compl. ¶¶ 30-31. The

State’s decision to abandon the Oracle system led to a disagreement over invoices. Id.

        Oracle became involved in various lawsuits arising from its work performed for the State

of Oregon between 2010 and 2014 in connection with Oregon’s healthcare insurance exchange

(the Cover Oregon Project), and the related Modernization Project. Compl. ¶ 2. One of the

seven underlying lawsuits for which Oracle seeks defense cost and indemnity coverage,

collectively known as the Cover Oregon Lawsuits, is styled Rosenblum, et al. v. Oracle America,

Inc., et al., Case No. 14-cv-20043 (Or. Cir. Ct., Marion Cnty.), filed in August 2014 (the “State

Action”). Id. Seven causes of action in the State Action Complaint (Claims for Relief 3-9)

allege violations of the Oregon False Claims Act. Indeed, the OFCA Claims each allege that

Oracle knowingly or recklessly made false statements or claims regarding its work for the State

of Oregon. Cohen Decl., Exh. A [Dkt. No. 47-1]. Specifically, the OFCA Claims each allege

that Oracle made statements, demonstrations, or representations “with actual knowledge that

they were false, with deliberate ignorance of their falsity, or with reckless disregard of their

falsity.” Id., ¶¶ 215, 236, 243, 252, 257, 264, 272. The OFCA Claims do not allege that Oracle

acted negligently. Id.




2
 The Modernization Project was to modernize Oregon’s health and human services IT systems (Compl. ¶ 2) and the
Cover Oregon Project was in connection with Oregon’s healthcare insurance exchange. Id.




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    C. COVERAGE CORRESPONDENCE

        On March 28, 2014, Oracle first reported a notice of circumstances to AIGSIC, informing

it of potential claims arising from Oracle’s provision of software, consulting, and other services

to the State of Oregon for the Cover Oregon Project and Modernization Project. Compl. ¶ 43.

AIGSIC promptly acknowledged notice of the dispute on April 10, 2014. Id., ¶ 45. Thereafter,

on August 18, 2014, AIGSIC issued a reservation of rights letter to Oracle, acknowledging that

AIGSIC’s Excess Policy followed form to the Primary Policy, requesting copies of Oracle’s

coverage communications with Beazley (the primary insurer) and information regarding the

status of this claim, including status reports drafted by Beazley or defense counsel. Compl. ¶ 46.

        The Complaint alleges that, on or about September 19, 2016, Oracle informed AIGSIC

that it had ultimately settled the State Action with a $35 million cash component, and that all the

Cover Oregon Lawsuits had been dismissed. Compl. ¶ 55. The Complaint acknowledged that it

was not until January 10, 2017, after Beazley agreed to pay the full limits of the Primary Policy,

that Oracle sought reimbursement from AIGSIC for defense costs (i.e. Claims Expenses) and

amounts paid in Settlement of the State Action (i.e. Damages). Compl. ¶ 56-57.3

        AIGSIC issued a coverage letter on July 19, 2017 disclaiming coverage of the legal fee

invoices because: (i) Claims Expenses for the affirmative lawsuits filed by Oracle were not

covered under the Excess Policy; (ii) certain exclusions in the Primary Policy preclude coverage;

and (iii) Claims Expenses sought under the Excess Policy for potentially covered claims did not




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  Contrary to Oracle’s inference, Beazley’s initial coverage letter only accepted coverage for breach of contract
claims under Insuring Clause I.B (not under I.A as Oracle now seeks from AIGSIC), and denied coverage for all
other claims based upon Primary Policy terms, exclusions, and allocations between covered and uncovered claims.
See Hirschorn Decl., Exh. 1 at pp. 1, 11. Oracle’s demand to AIGSIC for reimbursement came only after Beazley
agreed to pay the full limits of the Primary Policy. Compl. ¶ 57.




                                                   7
exceed the self-insured retention plus the total limits of the Primary Policy. Compl. ¶ 61; see

Cohen Decl., Exh. B [Dkt. #47-2]. AIGSIC denied coverage for the seven OFCA Claims

because “these claims are not premised upon negligence or an ‘unintentional’ breach of contract,

and therefore do not fall under the insuring agreement of the Beazley Policy. Further, coverage

is precluded under Exclusions E, F, G, K, and N of the Beazley Policy.” Id., Dkt. #47-2 at p. 10

of 12; see also Compl. Exh. A.        On November 10, 2017, AIGSIC issued a supplemental

coverage letter reaffirming its prior coverage position that no reimbursement of the submitted

legal fee invoices was due under the Excess Policy because AIGSIC’s coverage layer had not

been reached. Compl. ¶ 63.

                                     LEGAL ARGUMENT

I.   ORACLE CANNOT CARRY ITS HEAVY BURDEN ON THIS MOTION

       A plaintiff’s motion for judgment on the pleadings is exceedingly rare and necessarily

carries a heavy burden. A plaintiff must establish entitlement to judgment on the pleadings

based solely on the facts pleaded in the complaint, and admitted in defendant’s answer. See

David v. Rabuffetti, 2011 U.S. Dist. LEXIS 38555, at *9 (S.D.N.Y. Mar. 30, 2011) (denying

plaintiff’s motion for judgment on the pleadings for a declaratory action where defendant denied

the pertinent allegations in the Complaint); see also La Mirada Prods. Co. v. Wassall PLC, 823

F. Supp. 138, 140 (S.D.N.Y. 1993) (citing Falls Riverway Realty, Inc. v. City of Niagara Falls,

754 F.2d 49, 55 (2d Cir. 1985)).

II. ORACLE IS NOT ENTITLED TO PARTIAL JUDGMENT ON THE PLEADINGS
    BECAUSE THE OFCA CLAIMS DO NOT FALL WITHIN THE PRIMARY
    POLICY’S INSURING CLAUSES____________________________________________

        Errors and omissions insurance policies generally provide coverage for acts of

negligence, not intentional acts. See e.g., Fid. Nat’l Fin., Inc. v. Nat’l Union Fire Ins. Co., 2014

U.S. Dist. LEXIS 140030, at *6 (S.D. Cal. Sept. 30, 2014) (an errors and omissions


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“policy covers any losses caused by an [insured’s] negligence, and excludes claims arising out of

a dishonest act.”) (emphasis added); Dollar Phone Corp. v. St. Paul Fire & Marine Ins. Co.,

2012 U.S. Dist. LEXIS 45591, at *39 (E.D.N.Y. Mar. 9, 2012) (“it is understood that ‘[e]rrors

and omissions policies generally provide coverage for acts of negligence and do not insure

against intentional acts.’”); Watkins Glen Cent. Sch. Dist. v. Nat’l Union Fire Ins. Co., 732

N.Y.S.2d 70, 72 (N.Y. App. Div. 2d Dep’t 2001); DeSantis Enters. v. Am. & Foreign Ins. Co.,

661 N.Y.S.2d 92, 94 (N.Y. App. Div. 3d Dep’t 1997) (“The nature of an errors and omissions

policy is to … not cover intentional conduct.”) (internal citations omitted); Catlin Specialty Ins.

Co. v. CBL & Assocs. Props., 2017 Del. Super. LEXIS 471, at *20 (Del. Super. Ct. Sep. 20,

2017) (“a [liability] policy covering ‘negligent acts, errors or omissions’ does not cover

intentionally wrongful conduct.”). Here, the Primary Policy is an Errors and Omissions policy; it

does not insure against intentional acts.

   A. Coverage Under The Primary Policy Is Limited To Negligent Or Unintentional
      Conduct

       1. Insuring Clause I.B Is The Only Applicable Insuring Clause, Even Though The
          Result is The Same Under Insuring Clause I.A.

       Insuring Clause I.B provides coverage for “any negligent act, error or omission, or any

unintentional breach of contract . . . that results in the failure of Technology Products to perform

the function or serve the purpose intended.” It is the only applicable Insuring Clause of the

Primary Policy (see Cohen Decl., Exh. B) because the allegations in the State Action Complaint

arise out of Oracle’s creation and development of a “Technology Product” that failed to perform

as promised, as opposed to any “Professional Services” or “Technology Based Services”

provided by Oracle.

       The    Primary     Policy   defines   “Technology     Products”    as    “a   computer    or

telecommunications hardware or software product, or related electronic product that is created,


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manufactured or developed by the Insured Organization for others, or distributed, licensed,

leased or sold by the Insured Organization to others for compensation . . . including software

updates, service packs and other maintenance releases and training provided for such products.”

Compl., Exh. A, § VI.AA (emphasis added).

       The premise of the State Action Complaint is that Oracle claimed to have a so-called

“Oracle Solution for Oregon,” which it lied about when stating that it could meet the state’s

needs “with Oracle products that worked ‘out-of-the-box’” and when Oracle “said its products . .

. required little customization and could be set up quickly.” Cohen Decl., Exh. A, ¶¶ 2-3. The

State Action Complaint also alleged Oracle’s role in the development of technology and software

products for the State of Oregon, and demonstrated how the OFCA claims arose out of

representations concerning that technology development. See id., ¶ 6 (Oracle “[took] the lead in

proposing system architecture, selecting software and hardware . . . ;” “From 2011 on, Oracle . .

. was responsible for the development of the technology. Oracle … tightly controlled access to

the software development environments . . . . ”) (emphasis added). The State Action Complaint

further alleged that “the collection of products that Oracle called the ‘Oracle Solution’ . . . did

not work ‘out-of-the-box,’” and that Oracle’s claims about them “were patently and categorically

false.” Id., ¶ 12; see id., ¶¶ 1, 3, 4. Moreover, Oracle acknowledges in its Complaint here that

“the State of Oregon … hired Oracle to assist the State in implementing the software solutions

for both the Modernization and Cover Oregon Projects.” Compl. ¶ 29. Indeed, Oracle further

alleges that although “the Oracle system was ready for public release,” the State of Oregon chose

not to launch the public website and announced its decision to “abandon the Oracle system.” Id.,

¶¶ 30-31 (emphasis added).




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        Accordingly, the State Action Complaint arises out of the alleged failure of a software

solutions product (Technology Product) that was developed and implemented by Oracle to

perform as promised, to which Insuring Clause I.B applies. The State Action Complaint does not

arise out of “Professional Services” or “Technology Based Services” offered by Oracle, that

would otherwise be addressed by Insuring Clause I.A.4 In addition to citing Insuring Clause I.B,

Oracle advances Insuring Clause I.A for the first time in its Complaint. On this motion, Oracle

only addresses Insuring Clause I.A in an effort to broaden the scope of coverage available under

the Primary Policy, relying on the addition of the terms “misstatement” or “misleading

statement” which do not exist in the language of Insuring Clause I.B.

        In any event, coverage under both Insuring Clauses (I.A and I.B) is limited to negligent

or unintentional conduct, neither of which are alleged in the OFCA Claims in the State Action

Complaint.

        2. The Term “Negligent” Modifies The Terms “Act”, “Error”, “Omission”,
           “Misstatement” and “Misleading Statement.”

        Oracle attempts to broaden the scope of coverage under the Primary Policy’s Insuring

Clause I.A, which provides coverage for Claims Expenses arising out of “any negligent act, error



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   The Primary Policy provides that “‘Professional Services’ means professional services performed for others by or
on behalf of the Insured Organization for a fee . . . but does not include Technology Based Services, Media
Activities, any services involving the creation, development, sale, distribution, installation, licensing, or
manufacturing of Technology Products. . .” Compl., Exh. A (emphasis added). Here, as alleged in the State Action
Complaint, Oracle’s work involved the creation and development of Technology Products. Therefore, Oracle’s
work cannot constitute a “Professional Service” as defined by the Primary Policy. The Primary Policy further
provides that “‘Technology Based Services’ means computer and electronic technology services, including data
processing, Internet services, cloud services, data and application hosting, computer systems analysis, security
strategy and services, technology consulting and training, custom software programming for a specific client of the
Insured Organization, computer and software systems and installation and integration, computer and software
support, and network management services performed by the Insured. . . for others for a fee . . ., but shall not mean
Technology Products.” Id. (emphasis added). Here, Oracle did not perform any of the services listed in the
exhaustive list contained within the “Technology Based Services” definition. Therefore, Oracle’s work cannot
constitute a “Technology Based Service” as defined by the Primary Policy.




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or omission, misstatement or misleading statement or any unintentional breach of contract, in

rendering or failure to render Professional Services or Technology Based Services. . .” (Compl.,

Exh. A, § I.A). Oracle argues that coverage under Insuring Clause I.A is not limited to negligent

conduct, but rather extends to intentional conduct, because the term “negligent” in the Insuring

Clause does not modify the terms “misstatement or misleading statement.” However, in light of

well-established rules of syntax and contract interpretation, Oracle is wrong.

              It is well-established that when interpreting a particular insurance policy provision,

the court should give “its words their ordinary and popular sense except where they are used by

the parties in a technical or other special sense.” Haynes v. Farmers Ins. Exch., 13 Cal. Rptr. 3d

68, 72 (2004); see also Pl. Br. at 9. Thus, insurance policy interpretation requires looking to the

language of the contract in order to ascertain its plain meaning or the meaning a layperson would

ordinarily attach to it. Waller v. Truck Ins. Exch., 44 Cal. Rptr. 2d 370, 378 (1995).

         Moreover, when interpreting a phrase that includes an initial modifier, “[m]ost readers

expect the first adjective in a series of nouns or phrases to modify each noun or phrase in the

following series unless another adjective appears.” Ward Gen. Ins. Servs., Inc. v. Employers

Fire Ins. Co., 7 Cal. Rptr. 3d 844, 849 (Ct. App. 2003). Based upon this expectation of a

layperson, courts have found that under generally accepted rules of syntax, an initial modifier

“will tend to govern all elements in the series unless it is repeated for each element.” Wash.

Educ. Ass’n v. Nat’l Right to Work Legal Def. Found., Inc., 187 F. App’x 681, 682 (9th Cir.

2006).

         Indeed, both state and federal courts in California have read the phrase “negligent act,

error or omission” in an insurance policy’s insuring agreement as equivalent to “negligent act,

negligent error, or negligent omission.” See Forest Meadows Owners Ass’n v. State Farm Gen.




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Ins. Co., 2012 U.S. Dist. LEXIS 50911, at *13 (E.D. Cal. Apr. 11, 2012) (finding that “‘any

negligent acts, errors, omissions or breach of duty’ clearly meant ‘negligent acts, negligent

errors, negligent omissions or negligent breaches of duty’”); Oak Park Calabasas Condo. Assn.

v. State Farm Fire & Cas. Co., 40 Cal. Rptr. 3d 263 (Ct. App. 2006) (finding that “any negligent

acts, errors, omissions or breach of duty” was limited to “conduct sounding in negligence”); Grp.

Voyagers, Inc. v. Employers Ins. of Wausau, 2002 U.S. Dist. LEXIS 3674, *13 (N.D. Cal. Mar.

4, 2002), aff'd, 66 F. App'x 740 (9th Cir. 2003) (finding that “negligent act, error or omission”

means “negligent act, negligent error, or negligent omission”); ProCentury Ins. Co. v. Cuk, 2014

U.S. Dist. LEXIS 186938, at *18-19 (C.D. Cal. Apr. 29, 2014) (finding that the policy’s

definition of “Wrongful Act,” which included “actual or alleged negligent act, error, breach of

duty or omission,” encompassed negligent, but not intentional, misconduct).5

         In Grp. Voyagers, Inc., the insured argued that the word “negligent” only modified the

word immediately following it (“act”), and not the words “errors or omissions.” 2002 U.S. Dist.

LEXIS 3674, at *12-13.             The insured in Grp. Voyagers had emphasized that the comma

following the word “act” indicated a separation between the phrase “negligent act” and “error or



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  Courts in other jurisdictions have accepted the majority view and uniformly held that the term “negligent” modifies
the words that follow it. See Benefit Sys. & Servs. v. Travelers Cas. & Sur. Co. of Am., 2009 U.S. Dist. LEXIS
34213, at *14-15 (N.D. Ill. Apr. 22, 2009) (where Wrongful Act in a professional liability policy was defined as
“any actual or alleged negligent act, misstatement, misleading statement, error or omission in the rendering or failure
to render Professional Services,” the term “negligent” modified every word in the series such that “a Wrongful Act
must be negligent, no matter whether it is called an act, misstatement, false statement, omission or error”) (emphasis
added); Acordia Ne., Inc. v. Thesseus Int'l Asset Fund NV, Inc., 2003 U.S. Dist. LEXIS 15314, at *5 (S.D.N.Y. Sept.
2, 2003) (adopting the majority view that the adjective “negligent” unambiguously modifies “act”, “error”, and
“omission”); Cashman v. Bayland Bldgs., Inc., 2016 U.S. Dist. LEXIS 63017, at *19 (E.D. Wis. May 12, 2016) (the
term “negligent” in general liability policies of insurance modifies not just the word “act” but also the words that
follow). See also United States Fidelity & Guaranty Co. v. Fireman’s Fund Ins. Co., 896 F.2d 200, 203 (6th Cir.
1990) (“only reasonable construction of” [‘negligent act, error or omission’] is that the policy covers only “negligent
– not intentional – acts”); Golf Course Supt’s Ass’n v. Underwriters at Lloyd’s London, 761 F. Supp. 1485, 1490 (D.
Kan. 1991) (“It would be self-defeating to limit the definition of ‘wrongful act’ to negligent acts, but at the same
time cover intentional errors or omissions”).




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omission.” Id., 2002 U.S. Dist. LEXIS 3674, at *13. Oracle argues the same here. See Pl. Br. at

11. However, the Grp. Voyagers court found such construction unreasonable, stating:

       The Court is not persuaded by this logic, because the phrase would be
       ungrammatical without the comma, thus the comma serves the purpose of
       separating elements of a list. The comma’s presence, therefore, cannot fairly be
       construed to weigh in favor of plaintiff’s interpretation of “negligent act, error or
       omission.” The Court finds, therefore, that “negligent act, error or omission”
       means “negligent act, negligent error, or negligent omission.”

Id.
             Here, while Oracle concedes that “negligent” modifies “act”, “error”, and

“omission” (Pl. Br. at 11), it maintains that these well-established principles (concerning the

interpretation of a phrase with a “negligent” initial modifier) do not extend to policy language

which includes additional nouns beyond “act, error or omission,” such as “misstatement” or

“misleading statement.” Pl. Br. at 11-12.     However, courts in other jurisdictions that have

interpreted strikingly similar language to that of Insuring Clause I.A (which includes the terms

“misstatement” and “misleading statement”) have looked to courts interpreting the simple phrase

“negligent act, error or omission” for guidance, and have found that the word “negligent” also

modifies the additional terms “misstatement or misleading statement.”

       In Employers Reins. Corp. v. Teague, 1992 U.S. App. LEXIS 19294 (4th Cir. Aug. 14,

1992), the court interpreted a policy covering liability arising from any “negligent error,

omission, misstatement or misleading statement.” The insured argued that the phrase covered

any type of misstatement, including intentional misstatements. The court disagreed, ruling that

“the adjective ‘negligent’ modifies every word in the series,” and agreeing “with other courts

which have held, construing comparable provisions, that the adjective preceding a series of

nouns modifies every noun in the series.” Id., 1992 U.S. App. LEXIS 19294, at *5-6 (citing to

cases that have interpreted the phrase ”negligent act, error or omission”). Similarly, in Golf




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Course Supt’s Ass’n, 761 F. Supp. at 1489, the court examined a directors and officers liability

policy and concluded that coverage for any “negligent act, error, omission, misstatement or

misleading statement” does not include intentional acts. Id. at 1490 (citing cases that interpret

the phrase “any negligent act, error or omission”). The court held that the term “negligent” must

modify every relevant term of the definition because “[i]t would be self-defeating to limit the

definition of [the phrase] to negligent acts, but at the same time cover intentional errors or

omissions.” Id. The Court further reasoned:

        [M]isstatements and misleading statements are negligently made at times. A
        cause of action exists for negligent misrepresentation. Because the policy
        expressly excludes coverage of claims alleging dishonesty, it is quite consistent to
        construe the definition of wrongful act to cover only negligent misstatements or
        negligent misleading statements.

Id. See also Benefit Sys. & Servs., 2009 U.S. Dist. LEXIS 34213, at *15. Thus, Oracle’s

contention that AIGSIC could have drafted its policy language differently is of no import. Pl.

Br. at 12.

              In light of these well-established principles, and reading Insuring Clause I.A in

accordance with the meaning a lay person would attach to it, the only reasonable interpretation of

Insuring Clause I.A is that the term “negligent” (the adjective preceding a series of nouns or

phrases) modifies the terms “act”, “error”, “omission”, “misstatement”, and “misleading

statement” (each noun or phrase in the following series), and thus does not cover intentional acts.

        Oracle’s erroneous reading of Insuring Clause I.A contradicts the well-established

principles mentioned above and would result in a strained and illogical interpretation of the

Primary Policy, and create an insuring obligation virtually impossible for an insurer to

underwrite. See e.g., Forest Meadows Owners Ass’n, 2012 U.S. Dist. LEXIS 50911, at *17-18

(to conclude that the word “negligent” modifies only “acts” but not “error” or “omission” would




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result in a strained and illogical interpretation of the policy in which coverage could conceivably

extend to intentional, reckless or even ultrahazardous errors, omissions and breaches of duty as

well as negligent acts, and would create an insuring obligation virtually impossible for an insurer

to underwrite).

       In addition, just as the policy in Golf Course Supt’s Ass’n excluded coverage of claims

alleging dishonesty, 761 F. Supp. at 1490, Exclusion A of the Primary Policy excludes, inter

alia, dishonest conduct. Therefore, it would be consistent to construe Insuring Clause I.A as

covering only negligent misstatements or negligent misleading statements.

   B. The Mere Existence of Exclusion A Cannot Create Coverage For Claims Expenses
      Where the Insuring Clause Is Not Triggered In The First Instance

       Oracle argues that the mere existence of Exclusion A in the Primary Policy implies that

the Policy is not limited to coverage for negligent conduct (Pl. Br. at 12-13). It is black letter law

that “Exclusions in an insurance policy do not create coverage.” Ray v. Valley Forge Ins. Co., 92

Cal. Rptr. 2d 473, 478 (Ct. App. 1999). If the insuring clause does not cover a claimed loss,

there is no coverage. Id. There is no need for a court to even consider policy exclusions to

determine the existence of coverage, because exclusions serve to limit coverage granted by an

insuring clause and thus apply only to hazards covered by the insuring clause. Id. An exclusion

cannot act as an additional grant or extension of coverage. St. Paul Fire & Marine Ins. Co. v.

Coss, 145 Cal. Rptr. 836, 896 (Ct. App. 1978) (exclusion cannot act as an additional grant or

extension of coverage); Stanford Ranch v. Md. Cas. Co., 89 F.3d 618, 627 (9th Cir. 1996) (where

there was no coverage under the insuring agreement for liability arising in contract, no need to

examine the advertising injury exclusion because the exclusion cannot be used to extend or grant

additional coverage for injury arising in contract).      In addition, “an exception to a policy




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exclusion does not create coverage not otherwise available under the coverage clause.” Hurley

Constr. Co. v. State Farm Fire & Cas. Co., 12 Cal. Rptr. 2d 629, 633 (Ct. App. 1992).

         Here, the Primary Policy only provides coverage for negligent or unintentional conduct.

See Point II.A., supra. The mere existence of Exclusion A or its exception cannot serve to

extend or grant coverage for Claims Expenses where coverage for the alleged intentional

misconduct does not otherwise exist under the Insuring Clauses.6

III. THE OFCA CLAIMS IN THE STATE ACTION COMPLAINT DO NOT ALLEGE
     NEGLIGENT OR UNINTENTIONAL CONDUCT______________________________

         Simply put, the OFCA Claims allege that Oracle acted in “reckless disregard of the

falsity of its statements,” which does not trigger the Primary Policy’s Insuring Clauses which

only cover negligent and unintentional conduct. Cohen Decl., Exh. A, ¶¶ 215, 236, 243, 252,

257, 264, 272. Oracle’s attempt to read “negligence” into both the OFCA and the State Action

Complaint, when it does not exist in either, must fail.

         First, Oracle’s attempt to equate negligence with gross negligence for purposes of

triggering coverage for the OFCA Claims under one of the Primary Policy’s Insuring Clauses is

unpersuasive due to its reliance on inapposite case law, Safeco Ins. Co. of Am. v. Robert S., 28

P.3d 889 (Cal. 2001), and is entirely misplaced. Safeco involved ambiguous exclusion language

and a reasonable interpretation of the exclusion that rendered coverage illusory, which is plainly

not the case here. In Safeco, the California Supreme Court was not considering the meaning of

the phrase “negligent act, error or omission, misstatement or misleading statement” as part of an

insurance policy’s coverage provision, which is at issue here. Rather, it was considering the


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 The only other authority cited by Oracle, Mirpad, LLC v. Cal. Ins. Guarantee Ass'n, 132 Cal. App. 4th 1058, 1073
(2005), has no application here, where it simply recites a general insurance proposition that does not contradict this
well-established principle, and does not address a purported carve-out to a fraud exclusion.




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meaning of the phrase “illegal act” which was part of an insurance policy’s exclusionary clause.

Id. at 893.7 Based on its conclusion that the exclusionary word “illegal” was ambiguous, the

court in Safeco held that “Drawing a distinction, as the Court of Appeal did, between negligent

acts and grossly negligent acts exceeds the bound of construction by rewriting the policy. The

word ‘illegal’ is not a synonym for ‘gross negligence.’” Id. Therefore, Oracle’s attempt to read

Safeco out of context is misleading. Oracle also cites Safeco for its holding that a distinction

between ordinary negligence and gross negligence would be inconsistent with Section 533 of the

California Insurance Code. See Pl. Br. at 14. However, Section 533 is not at issue in this

dispute, and has no bearing on whether the Primary Policy’s Insuring Clause is triggered.8

         Second, the OFCA Claims do not allege that Oracle acted negligently, but rather that it

acted recklessly. Therefore, Oracle’s reliance upon various interpretations of Section 533,9 in an

effort to equate negligence with recklessness, is equally misplaced and not controlling. The sole

question at issue here is not whether Oracle acted “willfully” under Section 533, but whether

Oracle acted “negligently” (which resulted in a failure of Oracle’s Technology Products to

perform the function or serve the purpose intended) in order to trigger coverage under the

Primary Policy’s Insuring Clause. Thus, Oracle’s citation to Shell Oil Co v. Winterthur Swiss

Ins. Co., 15 Cal. Rptr. 2d 815 (Ct. App. 1993) and Downey Venture v. LMI Ins. Co., 78 Cal. Rptr.


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  The court in Safeco concluded the “illegal act” exclusion was unenforceable because the phrase “illegal act” could
reasonably be construed either broadly to mean an act prohibited by any law, whether civil or criminal, or more
narrowly, to imply a violation of criminal law only. Id. at 894. The court noted that if the exclusion were to be read
broadly, it could include even simple acts of negligence, because a violation of the duty to use care is a violation of
law – and that this broad interpretation would render the promise of insurance illusory because the policy was
supposed to defend and indemnify for injury resulting from negligence, but the exclusion could defeat that coverage.
Id.
8
  In addition, Oracle’s citation to Siebert v. Gene Sec. Network, Inc., 75 F. Supp. 3d 1108, 1117 (N.D. Cal. 2014) is
equally inapposite as it is interpreting language in a federal statute that is not at issue in this dispute.
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  Section 533 provides, “[a]n insurer is not liable for a loss caused by the willful act of the insured; but he is not
exonerated by the negligence of the insured . . . .”




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2d 142 (Ct. App. 1998) (Pl. Br. at 14-15) has no bearing on whether the Insuring Clause is

triggered as those cases merely support a finding that acts of gross negligence or recklessness do

not rise to the level of being “willful” under Section 533.

       For the same reasons, Oracle’s reliance on Office Depot, Inc. v. AIG Specialty Ins. Co.,

722 F. App’x 745 (9th Cir. 2018) (Pl. Br. at 15-17), is misplaced. In Office Depot, the Ninth

Circuit held that the California Insurance Code did not preclude insurance coverage for claims

under the California False Claims Act (“CFCA”), which requires only “‘reckless[ness]’

regarding the truth or falsity of the information in the claim, and does not require ‘[p]roof of

specific intent to defraud.’” Office Depot, 722 F. App’x at 746. At best, Office Depot stands for

the principle that “CFCA claims do not necessarily involve the type of ‘willful’ conduct required

for preclusion under [California Insurance Code] section 533.” Id. However, the mere reading

together of the CFCA and the California Insurance Code, neither of which are at issue in this

dispute (nor is there an analog of the California Insurance Code at issue here), does not place the

OFCA claims here under the Primary Policy’s Insuring Clause.

       Simply because there are intermediate degrees of state of mind (i.e., recklessly,

knowingly, intentionally) that would not necessarily be “willful” under Section 533, does not

mean that those degrees are sufficient to trigger coverage for “negligent” conduct under the

Primary Policy’s Insuring Clause. See Grp. Voyagers, Inc. v. Emplrs. Ins. of Wausau, 66 F.

App’x 740, 741 (9th Cir. 2003).        Grp. Voyagers concerned an employee benefits liability

endorsement in a commercial general liability policy, which provided that the insurer will defend

suits for losses “as a result of any negligent act, error or omission that occurs in the

‘administration’ of [the insured's] ‘employee benefits program.’” Id. The Ninth Circuit stated

that given the allegations in the underlying action and the undisputed evidence of the insured’s




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intention to deny retirement benefits to tour directors -- the underlying action created no potential

for coverage so as to require a duty to defend. Id. The court found that because the underlying

action complaints did not allege that the insured negligently or mistakenly misread its retirement

plan, the insured’s argument that its behavior was not “willful” for purposes of Section 533 is

“beside the point because the question is not whether [the insured] acted ‘wilfully’; the question

is whether it acted negligently in administering the plan.” Id. (emphasis added). Significantly,

the Ninth Circuit further explained: “There are intermediate degrees of state of mind (e.g.,

recklessly, knowingly, intentionally) that would not necessarily be ‘wilful’ under section 533

(‘necessarily and inherently harmful’) yet still are beyond a ‘negligent act, error or omission’ so

as not to trigger a duty to defend.” Id.

       Here, like the underlying action complaints in Grp. Voyagers, the OFCA Claims do not

allege that Oracle acted negligently. Rather, the allegations of the OFCA Claims expressly

allege that Oracle made statements, demonstrations, or representations “with actual knowledge

that they were false, with deliberate ignorance of their falsity, or with reckless disregard of their

falsity.” See Cohen Decl., Exh. A, ¶¶ 215, 236, 243, 252, 257, 264, 272. Thus, Oracle’s

contention that the OFCA Claims’ allegations of “reckless” conduct would not be willful under

Section 533 is “beside the point,” because the relevant inquiry is whether Oracle acted

negligently for purposes of triggering coverage under the Primary Policy’s Insuring Clause.

Similar to the Court’s holding in Grp. Voyagers, the OFCA Claims allegations of “reckless”

conduct are beyond a “negligent act, error or omission” and do not trigger coverage under the

Primary Policy.




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IV. AIGSIC HAS NO DUTY TO ADVANCE DEFENSE COSTS FOR “POTENTIALLY
    COVERED” CLAIMS______________________________________________________

       Oracle is not entitled to advancement of defense costs for any “potentially covered” claim

that has “alleged” wrongful conduct. Pl. Br. at 17. The duty to advance claims expenses extends

only to claims that are actually covered under the policy. See Jeff Tracy, Inc. v. U.S. Specialty

Ins. Co., 636 F. Supp. 2d 995 (C.D. Cal. 2009); Petersen v. Columbia Cas. Co., 2012 U.S. Dist.

LEXIS 120033, 2012 WL 5316352 (C.D. Cal. Aug. 21, 2012). Courts have declined to apply a

“potential coverage” standard to the duty to advance defense costs where the policy at issue

included conditions and exclusions fundamentally at odds with a potential coverage standard,

including provisions that require the insurer’s consent to legal fees incurred and provide for the

allocation of covered and uncovered losses between the insured and insurer. See Jeff Tracy, Inc.,

636 F. Supp. 2d at 1003–04 (finding that imposing a duty to pay all defense costs once a

potential for coverage is shown runs contrary to the terms of the policy which provided for an

allocation between covered and uncovered defense costs); Petersen, 2012 U.S. Dist. LEXIS

120033 at *27 (finding that where the policy provided that the parties must allocate defense

expenses proportionally to covered and uncovered matters, the insurer is only obligated to

advance expenses according to that allocation).

       In Jeff Tracy, the court relied on the fact that the policy did not include a duty to defend,

required the insured to obtain the insurer’s consent before incurring defense costs, and allowed

the insurer to allocate defense costs when the underlying claim involved both covered and

uncovered loss. Jeff Tracy, Inc., 636 F. Supp. 2d at 1003–04. The Petersen court similarly

found that the potential coverage standard did not apply because the insurer’s duty to advance




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defense costs was subject to the same conditions. Petersen, 2012 U.S. Dist. LEXIS 120033 at

*27.

        Here, the Primary Policy does not contain a duty to defend, and the Primary Policy only

provides for advancement of defense costs subject to the allocation of covered and uncovered

claims: “Subject to payment of the Deductible as provided in Clause VIII. and allocation

pursuant to Clause II.B. below, the Underwriters shall advance, on behalf of the Insureds,

Claims Expenses which the Insureds have incurred prior to the final disposition of such Claim.”

Compl., Exh. A, § II.A (emphasis added).            The Primary Policy further provides “The

Underwriters shall not be liable under this Policy for the portion of such amount allocated to

non-covered costs, expenses or losses.” Id., § II.B. Therefore, under California law, the Primary

Policy only obligates the insurer to advance defense costs for claims that are actually covered.

        Oracle’s reliance on Braden Partners and Royalty Carpet Mills is misplaced. In those

cases there was no final disposition of the claims, which is not the situation in the instant action.

Cf. Braden Partners, LP v. Twin City Fire Ins. Co., 2016 U.S. Dist. LEXIS 180958 (N.D. Cal.

Dec. 20, 2016); Royalty Carpet Mills, Inc. v. ACE Am. Ins. Co., 2017 WL 4786107 (C.D. Cal.

July 17, 2017).

        Here, the plain terms of the Primary Policy only require AIGSIC to advance Claims

Expenses prior to the final disposition of the Claim (i.e, prior to the Settlement of the State

Action). Oracle did not request reimbursement of Claims Expenses until after the Settlement of

the State Action.

V.     SEVERAL EXCLUSIONS PRECLUDE PARTIAL JUDGMENT ON THE
       PLEADINGS______________________________________________________________

        Oracle seeks partial judgment on the pleadings that the OFCA Claims “fall within the

scope of the insuring agreement” of the Excess Policy (Pl. Br. at 1). Oracle’s motion does not



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address AIGSIC’s affirmative defenses predicated upon policy exclusions that bar coverage for

the OFCA Claims even if such claims properly triggered an Insuring Clause. See Answer, Aff.

Def. ¶¶ 3, 5, 6, 9 and 11 [Dkt. #26].10 The exclusions present, at a minimum, factual issues that

are not properly decided on a motion for judgment on the pleadings. See Barber v. RLI Ins. Co.,

No. 1:06-CV-630, 2008 U.S. Dist. LEXIS 104128, at *15 (N.D.N.Y. Dec. 22, 2008) (finding that

judgment on the pleadings with respect to the application of an exclusion is unwarranted because

plausible factual scenarios exist and material issues of fact remain).

         Accordingly, at most, this Court may only determine whether the OFCA Claims fall

within any Insuring Clause, and all issues regarding the application of these exclusions can only

be determined on a more fulsome record upon completion of discovery.

                                                CONCLUSION

         For the foregoing reasons, Defendant respectfully requests that Plaintiff’s motion for

partial judgment on the pleadings be denied.



Dated:          New York, NY                     Respectfully submitted,
                August 16, 2018
                                                 BRESSLER, AMERY & ROSS, P.C.

                                                 By:             /s/ Robert Novack
                                                                 Robert Novack, Esq.
                                                                 Charles W. Stotter, Esq.
                                                                 Christina D. Gallo, Esq.

                                                                 17 State Street
                                                                 New York, NY 10004
                                                                 T: (212) 425-9300
                                                                 F: (212) 425-9337


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    Indeed, in its brief, apart from addressing Exclusion A, Oracle concedes that the “exclusions on which AIG
relies are broad-based and would apply, if at all, to all causes of action in the State Action” (Pl. Br. at 11, n. 7).




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           Attorneys for Defendant AIG Specialty Insurance
           Company (f/k/a Chartis Specialty Insurance
           Company)
4967530




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